        Case 4:23-cr-00139-BLW Document 104 Filed 12/27/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

             Plaintiff,                         Case No. 4:23-cr-00139-BLW

      v.                                        ORDER ADOPTING REPORT
                                                AND RECOMMENDATION
HELEN LORRAINE YBARRA,

             Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. Dkt. 103. On December 11, 2023, the Defendant appeared

before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there

is a factual basis for the Defendant’s admission to forfeiture and plea of guilty to

the charges contained in Count Two of the Indictment (Dkt. 2), and that it was

entered voluntarily and with full knowledge of the consequences. No objections to

the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was




ORDER ADOPTING REPORT AND RECOMMENDATION - 1
       Case 4:23-cr-00139-BLW Document 104 Filed 12/27/23 Page 2 of 2




voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 103) shall be, and the same is hereby, ADOPTED as the

decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Count Two of the Indictment (Dkt. 2) shall be, and the same is

hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the

offense.

      IT IS FURTHER ORDERED that the Defendant is found GUILTY as to the

applicable crimes charged in Count Two of the Indictment. Dkt. 2.

                                              DATED: December 27, 2023


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION - 2
